    Case 1:23-cv-02084-MMG-OTW                     Document 10             Filed 05/15/23   Page 1 of 6




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------X
                                                                              Case No. 1:23-cv-02084-JHR
ERICA T. YITZHAK, THE LAW OFFICES OF ERICA
T. YITZHAK AND ERICA T. YITZHAK, ESQ. P.C.,                                   VERIFIED ANSWER


                                            Plaintiffs,

                 -against-


PAUL WILLIAM VERNER, VERNER AND SIMON,
VERNER AND SIMON, P.C., VERNER AND SIMON,
LLP,


                                             Defendants,
-----------------------------------------------------------------------X


         Defendants PAUL WILLIAM VERNER, VERNER AND SIMON, VERNER AND

SIMON, P.C., VERNER AND SIMON, LLP, (collectively as “Defendants”), by their attorneys

Lewis Brisbois Bisgaard & Smith LLP, as and for their Answer to the Complaint, allege as follows:

         1.      Defendants deny each and every allegation contained within the paragraphs of

plaintiffs’ Verified Complaint designated as “5”, “6”, “7”, and “8”.

         2.      Defendants deny having knowledge or information sufficient to form a belief as to

the truth of each and every allegation contained within the paragraphs of plaintiffs’ Verified

Complaint designated as “1”, “2”, “3”, “4”, “10”, “11, “12”, “13”, “14”, “15”, “16”, “17”, “18,

“19, “20”, “21”, “22”, “23”, “24”, “25”, “26”, “27”, “28”, “29”, “30”, “31”, “32”, “33”, “34”,

“35”, “36”, “37”, “38”, “39”, “40”, “41”, “42”, “43”, “44”, “45”, “46”, “47”, “48”, “49”, “50”,

“51”, “52”, “53”, “54”, “55”, “56”, “57”, “58”, “59”, “60”, “61”, “62”, “63”, “64”, “65”, “71”,

“72”, “73”, “74”, “75”, “76”, “77”, “78”, “79”,



94897311.1
#94897311.v1
    Case 1:23-cv-02084-MMG-OTW                  Document 10       Filed 05/15/23     Page 2 of 6




         3.        Defendants denies the allegations set forth in paragraphs “66”, “67”, “68”, “69”,

“70”, “75[SIC] 1”, “76”[SIC] 2”, “77[SIC] 3”, “78[SIC] 4”, “79[SIC] 5”, “80”, “81”, “82”, “83”, “84”,

“85”, “86”, “87”, “88” “89”, “90”, and “91” of the Verified Complaint and respectfully refers all

questions of law to be determined by the Court.


              AS AND FOR THE DEFENDANTS’ FIRST AFFIRMATIVE DEFENSE

         Upon information and belief, Plaintiffs have failed to state a cause of action against the

Defendants upon which relief can be granted.

             AS AND FOR THE DEFENDANTS’ SECOND AFFIRMATIVE DEFENSE

       Upon information and belief, the actions complained of were in full accord with the
applicable law.

              AS AND FOR THE DEFENDANTS’ THIRD AFFIRMATIVE DEFENSE

         Upon information and belief, the claims are barred by the doctrines of waiver, consent,

acquiescence, and/or ratification.

             AS AND FOR THE DEFENDANTS’ FOURTH AFFIRMATIVE DEFENSE

             Upon information and belief, any injury or damages sustained by plaintiffs, as alleged in

the Complaint, were caused in whole or in party by the contributory or comparative negligence

and/or culpable conduct of said plaintiff and not as a result of any negligence and/or culpable

conduct on the part of the Defendants.

              AS AND FOR THE DEFENDANTS’ FIFTH AFFIRMATIVE DEFENSE

         1
         Plaintiff’s Verified Complaint’s contains two allegations that are numbered 75, 76, 77,
78, and 79. This denial is in reference to the allegations under Plaintiff’s “FIRST CAUSE OF
ACTION (Legal Malpractice)”.
         2
             Please see footnote 1.
         3
             Please see footnote 1.
         4
             Please see footnote 1.
         5
             Please see footnote 1.
94897311.1
#94897311.v1
    Case 1:23-cv-02084-MMG-OTW              Document 10          Filed 05/15/23    Page 3 of 6




         Upon information and belief, no acts of omissions by the Defendant were an actual cause,

legal cause, contributing cause, substantial factor or proximate cause with respect to the damages

if any, sustained by the plaintiff.


             AS AND FOR THE DEFENDANTS’ SIXTH AFFIRMATIVE DEFENSE

         Upon information and belief, Plaintiffs have not suffered any legally cognizable damages.


         AS AND FOR THE DEFENDANTS’ SEVENTH AFFIRMATIVE DEFENSE

         Upon information and belief, Defendants reserve their right to amend this pleading to

reflect additional affirmative defenses as may be revealed through discovery and further pleadings.


             AS AND FOR THE DEFENDANTS’ EIGHTH AFFIRMATIVE DEFENSE

         Upon information and belief, the Defendants, their officers, agents, servants and/or

employees, at all times mentioned in the Verified Complaint, acted without malice, without intent

to cause harm or injury, without willful, reckless and wanton disregard of the safety of plaintiffs,

and acted in good faith and with probable cause and justification, without such conduct having

exceeded that which was required under the circumstances.


             AS AND FOR THE DEFENDANTS’ NINTH AFFIRMATIVE DEFENSE

         Upon information and belief, the Verified Complaint fails to provide any factual support

for a claim of deliberate indifference against the Defendants.


             AS AND FOR THE DEFENDANTS’ TENTH AFFIRMATIVE DEFENSE

         Upon information and belief, Plaintiffs’ alleged injuries were not proximately caused by

the Defendant’s failure to discharge mandatory duties.



94897311.1
#94897311.v1
    Case 1:23-cv-02084-MMG-OTW                Document 10         Filed 05/15/23   Page 4 of 6




        AS AND FOR THE DEFENDANTS’ ELEVENTH AFFIRMATIVE DEFENSE

         Any and all mandatory duties imposed on the Defendants, the failure of which is the

subject of this Complaint, were exercised with reasonable diligence and, therefore, the

Defendants are not liable to plaintiffs for plaintiffs’ alleged injuries.



         WHEREFORE, Defendants demand judgment dismissing the Complaint as against them,

in its entirety, with prejudice, together with the costs and disbursements of this action, and such

other relief as deemed just by the Court.

Dated: New York, New York
       May 15, 2023

                                                        LEWIS BRISBOIS BISGAARD &
                                                        SMITH LLP

                                                        Erin O’Leary
                                                        By: Erin O’Leary, Esq.
                                                        Attorneys for Defendants
                                                        PAUL WILLIAM VERNER
                                                        VERNER SIMON, i/s/h/a
                                                        VERNER AND SIMON
                                                        VERNER SIMON, P.C., i/s/h/a
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    Case 1:23-cv-02084-MMG-OTW   Document 10   Filed 05/15/23   Page 5 of 6




94897311.1
#94897311.v1
    Case 1:23-cv-02084-MMG-OTW              Document 10       Filed 05/15/23      Page 6 of 6




                                CERTIFICATE OF SERVICE


       Erin O’Leary, an attorney duly admitted to practice before this Court, certifies that on May
15, 2023, she caused to be served via ECF a copy of Defendants’ Answer to Verified Complaint.
I am aware that if any of the foregoing statements made by me are willfully false, I am subject to
punishment.


TO:      Andrew L. Bluestone, Esq.
         Attorneys for Plaintiffs
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                                                                     /s/ Erin O’Leary
                                                                   ERIN O’LEARY, ESQ.




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